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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


                                                     :
 INGRID RAGANOVA,                                    :   Civil Action No.: 2:24-cv-09096
                                                     :
                             Plaintiff(s),           :
                                                     :
 v.                                                  :       DISCOVERY CONFIDENTIALITY
                                                     :                ORDER
 UNITED AIRLINES, INC., UNITED                       :
 AIRLINES HOLDINGS, INC., GARRETT                    :
 FOSTER, STACY KATZ, & JOHN DOES 1-                  :
 100,                                                :
                                                     :
                             Defendants.             :
                                                     :

             It appearing that discovery in the above-captioned action is likely to involve the
      disclosure of confidential information, it is ORDERED as follows:

              1.       Any party to this litigation and any non-party providing information in this
      action (hereinafter “non-party”) shall have the right to designate as “Confidential” and
      subject to this Order any information, document, or thing, or portion of any document or
      thing: (a) that contains trade secrets, competitively sensitive technical, marketing, financial,
      sales or other confidential business information, or (b) that contains private or confidential
      personal information, or (c) that contains information received in confidence from third
      parties, or (d) which the producing party otherwise believes in good faith to be entitled to
      protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure and Local Civil
      Rule 5.3. Any party to this litigation or non-party covered by this Order, who produces or
      discloses any Confidential material, including without limitation any information,
      document, thing, interrogatory answer, admission, pleading, or testimony, shall mark the
      same with the foregoing or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL –
      SUBJECT TO CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

               2.      Any party to this litigation and any non-party shall have the right to
      designate as “Attorneys’ Eyes Only” and subject to this Order any information, document,
      or thing, or portion of any document or thing that contains highly sensitive business or
      personal information, the disclosure of which is highly likely to cause significant harm to
      an individual or to the business or competitive position of the designating party. Any party
      to this litigation or any non-party who is covered by this Order, who produces or discloses
      any Attorneys’ Eyes Only material, including without limitation any information,
      document, thing, interrogatory answer, admission, pleading, or testimony, shall mark the
      same with the foregoing or similar legend: “ATTORNEYS’ EYES ONLY” or
      “ATTORNEYS’ EYES ONLY – SUBJECT TO CONFIDENTIALITY ORDER”
      (hereinafter “Attorneys’ Eyes Only”).


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            3.     All Confidential and Attorneys’ Eyes Only material shall be used by the
    receiving party solely for purposes of the prosecution or defense of this action, shall not be
    used by the receiving party for any business, commercial, competitive, personal or other
    purpose, and shall not be disclosed by the receiving party to anyone other than those set
    forth in Paragraph 4 with respect to Confidential material, or set forth in Paragraph 6 with
    respect to Attorneys’ Eyes Only material, unless and until the restrictions herein are
    removed either by written agreement of counsel for the parties, or by Order of the Court. It
    is, however, understood that counsel for a party may give advice and opinions to his or her
    client solely relating to the above-captioned action based on his or her evaluation of
    Confidential and Attorneys’ Eyes Only material, provided that such advice and opinions
    shall not reveal the content of such Confidential and Attorneys’ Eyes Only material except
    by prior written agreement of counsel for the parties, or by Order of the Court.

           4.      Confidential material and the contents of Confidential material may be
    disclosed only to the following individuals under the following conditions:

                  (a)     Outside counsel (herein defined as any attorney at the parties’
           outside law firms, which firms have appeared in the action) and relevant in-house
           counsel for the parties;

                    (b)   Outside experts or consultants retained by outside counsel for
           purposes of this action, provided they have signed a non-disclosure agreement in
           the form attached hereto as Exhibit A or such other form as may be agreed by the
           parties;

                  (c)     Secretarial, paralegal, clerical, duplicating and data processing
           personnel of the foregoing;

                   (d)     The Court and court personnel;

                  (e)    Any deponent may be shown or examined on any information,
           document or thing designated Confidential if it appears that the witness authored or
           received a copy of it, was involved in the subject matter described therein or is
           employed by the party who produced the information, document or thing, or if the
           producing party consents to such disclosure;

                    (f)    Vendors retained by or for the parties to assist in preparing for
           pretrial discovery, trial and/or hearings including, but not limited to, court reporters,
           litigation support personnel, jury consultants, individuals to prepare demonstrative
           and audiovisual aids for use in the courtroom or in depositions or mock jury
           sessions, as well as their staff, stenographic, and clerical employees whose duties
           and responsibilities require access to such materials; and

                   (g)     The parties. In the case of parties that are corporations or other
           entities, “party” shall mean executives who are required to participate in decisions
           with reference to this lawsuit or are persons necessary for the prosecution or
           defense of this lawsuit.



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            5.      Confidential material shall be used only by individuals permitted access to it
    under Paragraph 4. Confidential material, copies thereof, and the information contained
    therein, shall not be disclosed in any manner to any other individual, until and unless (a)
    outside counsel for the party asserting confidentiality waives the claim of confidentiality,
    or (b) the Court orders such disclosure.

           6.     Attorneys’ Eyes Only material and the contents of Attorneys’ Eyes Only
    material may be disclosed only to the following individuals under the following conditions:

                  (a)     Outside counsel (herein defined as any attorney at the parties’
           outside law firms, which firms have appeared in the action);

                  (b)    In-house counsel designated in advance of disclosure by the parties
           who are necessary for the prosecution or defense of the action;

                    (c)   Outside experts or consultants retained by outside counsel for
           purposes of this action, provided they have signed a non-disclosure agreement in
           the form attached hereto as Exhibit A or such other form as may be agreed by the
           parties;

                  (d)     Secretarial, paralegal, clerical, duplicating and data processing
           personnel of the foregoing;

                   (e)     The Court and court personnel;

                  (f)     Any deponent may be shown or examined on any information,
           document or thing designated Attorneys’ Eyes Only if it appears that the witness
           authored or received a copy of it, or was employed by the party who produced the
           information, document or thing, or if the producing party consents to such
           disclosure;

                    (g)    Vendors retained by or for the parties to assist in preparing for
           pretrial discovery, trial and/or hearings including, but not limited to, court reporters,
           litigation support personnel, jury consultants, individuals to prepare demonstrative
           and audiovisual aids for use in the courtroom or in depositions or mock jury
           sessions, as well as their staff, stenographic, and clerical employees whose duties
           and responsibilities require access to such materials; and

                  (h)     To such other persons as counsel for the producing party agrees or as
           ordered by the Court.

            7.      Attorneys’ Eyes Only material shall be used only by individuals permitted
    access to it under Paragraph 6. Attorneys’ Eyes Only material, copies thereof, and the
    information contained therein, shall not be disclosed in any manner to any other individual,
    until and unless (a) outside counsel for the party asserting confidentiality waives the claim
    of confidentiality, or (b) the Court orders such disclosure.

           8.      With respect to any depositions that involve a disclosure of Confidential


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    material or Attorneys’ Eyes Only material of a party or non-party, such party or non-party
    shall designate the transcript as containing Confidential material or Attorneys’ Eyes Only
    material, or both, during the deposition, or within 5 days thereafter, and may have until
    thirty (30) days after receipt of the deposition transcript within which specifically to inform
    all other parties or non-parties of which portions of the transcript are to be designated
    Confidential or Attorneys’ Eyes Only, which period may be extended by agreement of the
    parties. No such deposition transcript shall be disclosed to any individual other than the
    individuals described in Paragraph 4(a), (b), (c), (d) and (f) for Confidential material, or
    Paragraph 6 for Attorneys’ Eyes Only material, and the deponent during these thirty (30)
    days, and no individual attending such a deposition shall disclose the contents of the
    deposition to any individual other than those described in Paragraph 4(a), (b), (c), (d) and
    (f), or Paragraph 6 for Attorneys’ Eyes Only material, during said thirty (30) days. Upon
    being informed that certain portions of a deposition are to be designated as Confidential, or
    Attorneys’ Eyes Only, all parties shall immediately cause each copy of the transcript in its
    custody or control to be appropriately marked and limit disclosure of that transcript in
    accordance with Paragraphs 4 and 5 or Paragraphs 6 and 7, respectively.

            9.     If counsel for a party receiving documents or information designated as
    Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of
    such items, the following procedure shall apply:

                   (a)     Counsel for the objecting party shall serve on the designating party
           or non- party a written objection to such designation, which shall describe with
           particularity the documents or information in question and shall state the grounds for
           objection. Counsel for the designating party or non-party shall respond in writing to
           such objection within 14 days, and shall state with particularity the grounds for
           asserting that the document or information is Confidential or Attorneys’ Eyes Only.
           If no timely written response is made to the objection, the challenged designation
           will be deemed to be void. If the designating party or nonparty makes a timely
           response to such objection asserting the propriety of the designation, counsel shall
           then confer in good faith in an effort to resolve the dispute.

                    (b)    If a dispute as to a Confidential or Attorneys’ Eyes Only designation
           of a document or item of information cannot be resolved by agreement, the
           proponent of the designation being challenged shall present the dispute to the Court
           initially by telephone or letter, in accordance with Local Civil Rule 37.1(a)(1),
           before filing a formal motion for an order regarding the challenged designation. The
           document or information that is the subject of the filing shall be treated as
           originally designated pending resolution of the dispute.

            10.    Any document designated “Confidential” or “Attorneys’ Eyes Only” by a
    party or non-party and which is to be filed with the Court shall be filed under seal, in
    accordance with Local Civil Rule 5.3. Prior to filing any document under seal, the parties
    shall cooperate with each other to redact any “Confidential” or “Attorneys’ Eyes Only”
    material such that these documents can be filed without seeking leave to file under seal to
    the extent redaction is feasible.



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            11.    If the need arises during trial or at any hearing before the Court for any
    party to disclose Confidential or Attorneys’ Eyes Only material, it may do so only after
    giving notice to the producing party and as directed by the Court.

            12.    Data Breach. If a party learns that material that party received in discovery
    pursuant to this Confidentiality Order has been the subject of a data breach, that party must
    promptly notify the producing party of the breach, and cooperate with that party to address
    the breach.

            13.    The inadvertent or unintentional disclosure of Confidential or Attorneys’
    Eyes Only material that should have been designated as such, regardless of whether the
    information, document or thing was so designated at the time of disclosure, shall not be
    deemed a waiver in whole or in part of a party’s or non-party’s claim that it is Confidential
    or Attorneys’ Eyes Only material, either as to the specific information, document or
    thing disclosed or as to any other material or information concerning the same or related
    subject matter. Such inadvertent or unintentional disclosure may be rectified by notifying
    in writing counsel for all parties to whom the material was disclosed that the material
    should have been designated Confidential or Attorneys’ Eyes Only within a reasonable
    time from discovery of the error. Such notice shall constitute a designation of the
    information, document or thing as Confidential or Attorneys’ Eyes Only under this
    Confidentiality Order.

            14.     The production of any information, document, or thing in this litigation
    shall not constitute a waiver of any attorney-client privilege or work-product protection that
    may be asserted by the producing party either in this case or in any other federal or state
    proceeding. This Order shall be interpreted to provide the maximum protection allowed by
    Federal Rule of Evidence 502(d). When the production or disclosure of any information,
    document, or thing protected by attorney-client privilege or work-product protection is
    discovered by or brought to the attention of the producing party, the treatment of such
    material shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). That
    treatment shall be deemed to comply with any obligations the producing party would
    otherwise have had pursuant to Fed. R. Evid. 502(b) or under the common law. However,
    nothing herein restricts the right of the receiving party to challenge the producing party’s
    claim of attorney-client privilege or work-product protection after receiving notice of the
    production or disclosure of any information, document, or thing that is subject to a claim of
    attorney-client privilege or work-product protection.

            15.    If a non-party serves a party in this action with a request, subpoena, or order
    (“demand”) for disclosure of Confidential or Attorneys’ Eyes Only material, the party
    receiving the demand, if not prohibited under applicable law, shall promptly deliver a copy
    of the demand to the designating party’s counsel, and shall notify the party who served the
    request that some or all of the materials sought by the request are subject to this
    Confidentiality Order. The party receiving the demand shall not disclose any Confidential
    or Attorneys’ Eyes Only material prior to the date specified for disclosure, or prior to
    resolution of any dispute regarding production of such material in response to the request,
    whichever is later. In its sole discretion and at its own cost, the designating party may
    oppose or seek to limit the demand in any legal manner. The party who received the


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     demand shall not oppose or otherwise interfere with the designating party’s actions.

             16.    No information that is in the public domain or which is already known by
     the receiving party through proper means or which is or becomes available to a party from
     a source other than the party asserting confidentiality, rightfully in possession of such
     information on a non- confidential basis, shall be deemed or considered to be Confidential
     or Attorneys’ Eyes Only material under this Confidentiality Order.

             17.    This Confidentiality Order shall not deprive any party of its right to object
     to discovery by any other party or on any otherwise permitted ground. This Confidentiality
     Order is being entered without prejudice to the right of any party to move the Court for
     modification or for relief from any of its terms.

             18.     This Confidentiality Order shall survive the termination of this action and
     shall remain in full force and effect unless modified by an Order of this Court or by the
     written stipulation of the parties filed with the Court.

             19.      Upon final conclusion of this litigation, each party or other individual subject
     to the terms hereof shall be under an obligation to assemble and to return to the originating
     source all originals and unmarked copies of documents and things containing Confidential
     or Attorneys’ Eyes Only material or to destroy all copies of such material that contain
     and/or constitute attorney work product as well as excerpts, summaries and digests revealing
     Confidential or Attorneys’ Eyes Only material; provided, however, that counsel may retain
     complete copies of all transcripts and court filings, including any exhibits attached thereto,
     for archival purposes, subject to the provisions of this Confidentiality Order. To the extent
     a party requests the return of Confidential or Attorneys’ Eyes Only material from the Court
     after the final conclusion of the litigation, including the exhaustion of all appeals therefrom
     and all related proceedings, the party shall file a motion seeking such relief.

     IT IS SO ORDERED.


     Dated:
                                              HON. STACY D. ADAMS, U.S.M.J.



The undersigned hereby consent to
the form and entry of the within order:


___________________                                     s/ Suzanne Cera
David Castellani, Esq.                                  Suzanne Cerra, Esq.
CASTELLANI LAW FIRM, LLC                                NUKK-FREEMAN & CERRA, P.C.
Attorneys for Plaintiff Ingrid Raganova                 Attorneys for Defendant United Airlines, Inc.




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                                               EXHIBIT A

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                 :
INGRID RAGANOVA,                                 :   Civil Action No.: 2:24-cv-09096
                                                 :
                          Plaintiff(s),          :
                                                 :      AGREEMENT TO BE BOUND BY
v.                                               :       CONFIDENTIALITY ORDER
                                                 :
UNITED AIRLINES, INC., UNITED                    :
AIRLINES HOLDINGS, INC., GARRETT                 :
FOSTER, STACY KATZ, & JOHN DOES 1-               :
100,                                             :
                                                 :
                          Defendants.            :
                                                 :


 I,                                         , being duly sworn, state that:

1.     My address is                                                              .

2.     My present employer is                                                     and the address of my
       present employment is                                                         .

3.     My present occupation or job description is                                .

4.     I have carefully read and understood the provisions of the Confidentiality Order in this case
       signed by the Court, and I will comply with all provisions of the Confidentiality Order.

5.     I will hold in confidence and not disclose to anyone not qualified under the Confidentiality
       Order any Confidential or Attorneys’ Eyes Only material or any words, summaries, abstracts,
       or indices of Confidential or Attorneys’ Eyes Only material disclosed to me.

6.     I will limit use of Confidential or Attorneys’ Eyes Only material disclosed to me solely for
       purpose of this action.

7.     No later than the final conclusion of the case, I will return all Confidential or Attorneys’ Eyes
       Only material and summaries, abstracts, and indices thereof which come into my possession,
       and documents or things which I have prepared relating thereto, to counsel for the party for
       whom I was employed or retained.



 I declare under penalty of perjury that the foregoing is true and correct.


 Dated:                                                                                   [Name]
